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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

 ECOLOGY MIR GROUP, LLC,                         :
                                                 :
       Plaintiff,                                :
                                                 :
 v.                                              :    Civil Action No.: 1:17-cv-00755-LMB-IDD
                                                 :
 JOSEPH J. HANSON, et al.,                       :
                                                 :
      Defendants.                                :
 ___________________________________

             NOTICE OF APPEARANCE AND REQUEST FOR ECF NOTICING

       Defendants, JOSEPH J. HANSON and BLACKCREST ASSOCIATES, LLC, by

counsel, submit this Notice of Appearance and Request for ECF Noticing as, though Nathan

Baney has filed documents on behalf of JOSEPH J. HANSON and BLACKCREST

ASSOCIATES, LLC and is listed as “Lead Attorney,” he has not been getting emails of docket

entries and so files this to notify the Clerk of his request for notices in the aforementioned case.

       The full name and contact information of Mr. Baney is as follows:

                                               Nathan D. Baney
                                               Va. Bar # 75935
                                               BANEYLAW, P.C.
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                                            Respectfully Submitted,

                                            /s/ Nathan D. Baney__________
                                            Nathan D. Baney
                                            Va. Bar # 75935
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                                       CERTIFICATE OF SERVICE

       Nathan D. Baney, hereby certifies that on August 15, 2017 he electronically filed the
foregoing Notice of Appearance and Request for Notices with the Clerk of Court using the
CM/ECF system, which will then send a notification of such filing (NEF) to the following:

                             Andrew S. Baugher (VSB #74663)
                             Patrick C. Asplin (VSB #46620)
                             Lenhart Pettit
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                             Counsel for Plaintiff


                             /s/ Nathan D. Baney__________
